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&lt;p&gt;&lt;font size="+1"&gt;&lt;strong&gt;&lt;center&gt;TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN&lt;/strong&gt;&lt;/font&gt;&lt;/center&gt;


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&lt;strong&gt;&lt;center&gt;NO. 03-&lt;a name="1"&gt;00&lt;/a&gt;-00&lt;a name="2"&gt;609&lt;/a&gt;-CV&lt;/center&gt;
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&lt;strong&gt;&lt;center&gt;&lt;a name="3"&gt;In re Ryan-O Excavating, Inc.&lt;/a&gt; and Universal Surety of America&lt;/center&gt;
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&lt;center&gt;ORIGINAL PROCEEDING FROM &lt;a name="5"&gt;TRAVIS&lt;/a&gt; COUNTY&lt;/center&gt;
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&lt;/strong&gt;&lt;strong&gt;PER CURIAM&lt;/strong&gt;

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&lt;p&gt;	Relators' petition for writ of mandamus is denied.  All pending motions are
dismissed.

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&lt;p&gt;Before Chief Justice Aboussie, Justices Kidd and Yeakel

&lt;p&gt;Filed:   October 26, 2000

&lt;p&gt;Do Not Publish
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